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                                   STATEMENT OF FACTS

       Your affiant, Christian Gabriel Coulter, is a Special Agent assigned to the Federal Bureau
of Investigation (FBI). In my duties as a special agent, I have conducted multiple criminal and
counterterrorism investigations. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                             Conduct of Hand and Robinson-Hand

       According to records obtained from Google, mobile devices associated with telephone
numbers (xxx) xxx-5649 (x5649) and (xxx) xxx-2361 (x2361) 1 were identified as being within
or around the U.S. Capitol between 2:00 p.m. and 6:30 p.m. EST pm January 6, 2021. The mobile
device associated with x5649 was associated with Google account hand.chuck.3@gmail.com, display
name Chuck Hand, and the mobile device associated with x2361 was associated with Google account
mrobinson653@gmail.com, display name Mandy Michelle Robinson. Your affiant has since learned
from a law enforcement liaison that Charles Hand, III (“Hand”) and Mandy Robinson-Lanning,
now Robinson-Hand, (“Robinson-Hand”), are a married couple.
        After further investigation, individuals believed to be Hand and Robinson-Hand were
identified in open source documentary footage and in U.S. Capitol closed circuit surveillance
cameras (CCTV), which revealed that Hand and Robinson-Hand were present on the Capitol
grounds and inside the U.S. Captiol building on January 6, 2021. One independent witness who
knows Hand and Robinson-Hand from personal interactions with them in their home state of
Georgia positively identified them in the following screenshots taken from CCTV of the inside
of the U.S. Capitol Building on January 6, 2021:




1
 The complete phone numbers are known to the affiant but are omitted here due to the public
nature of this document.
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       Based on this identification, as well as a comparison of the CCTV and open source
videos with Hand and Robinson-Hand’s driver’s license photos, and a comparison of their
clothing and accessories worn throughout the day, Hand and Robinson-Hand are believed be the
individuals captured in the screenshots below. Throughout the videos, Hand is seen with a short
brown beard and mustache and is wearing a white collared shirt, a dark vest, blue jeans, brown
shoes and a red University of Georgia baseball cap emblazoned with a black ‘G’ atop a white
oval. Robinson-Hand is seen with brown hair past her shoulders and is wearing a red shirt, black
hooded jacket, blue jeans with identifiable rips in front, and dark sneakers.

        On January 6, 2021, Goldcrest Films International Ltd captured footage of a mob
gathering outside of the north west side of the Capitol somewhere near the northwest lawn and
terrace. This footage was provided to the FBI, and Hand and Robinson-Hand were identified in
this crowd. Of note, at approximately 1:06 p.m., Hand broke off a piece of metal fencing and
placed it into the back pocket of his jeans. This time estimate is based on the time approximation
of the Goldcrest Films filmmaker:
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        CCTV captured people entering the U.S. Capitol building through a breached doorway at
the Senate Wing. At approximately 2:26 p.m., Hand and Robinson-Hand were captured entering
the U.S. Capitol through the Senate Wing Door, while Robinson-Hand held a cell phone in her
right hand:
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        CCTV and an open source video also captured Hand and Robinson-Hand traveling south
inside the Capitol into the Crypt then east down a flight of stairs into the Capitol Visitors Center
(CVC):
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        After walking around the entrance to the CVC, Hand and Robinson-Hand eventually made
their way toward Emancipation Hall where visual was lost for about six minutes. At about 2:39
p.m., they reappeared on CCTV and were fully and partially observed making gestures in the
direction of law enforcement. At one point, law enforcement was observed in a physical
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altercation with unknown persons. Hand appeared to try to advance towards the scuffle as
Robinson-Hand restrained him:




        At about 2:43 p.m., Hand and Robinson-Hand returned from the CVC and headed back
upstairs, using the “up” escalator this time:
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        According to a tipster, Hand posted the following commentary on his Facebook account
about what he witnessed at the Capitol on January 6, 2021. He described himself as “an eye
witness of the storming of the United States Capitol on 1-6-2021” and said that he was “on the
scene from 1:30pm to 4:00pm.” He further stated that he “saw makeshift fencing that had been
torn down,” a crowd of people “rushing the Capitol Police,” for which “tear gas, rubber bullets,
mace and etc wasn’t stopping them” and [t]housands upon thousands of angry Americans
marching onto the Capitol to protest and stop the certification of what I personally believe to be
an election stolen from the American people”:
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        In addition, a tipster provided Facebook postings made by “Mandy Robinson Hand”
stating, “We’re in the capital [sic]. Taking our house back,” and “We’ve Been tear gassed etc.”
The tipster further reported, “This post has since been deleted but Mandy and her husband Chuck
were in the Capitol. I cannot tell if they were on any of the images or not.”
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                                        Criminal Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Charles Hand, III and Mandy Robinson-Hand violated 18 U.S.C. § 1752(a)(1) and (2), which
makes it a crime to (1) knowingly enter or remain in any restricted building or grounds without
lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
of Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Charles Hand, III and
Mandy Robinson-Hand violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol




                                                        Christian Gabriel Coulter
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of March 2022.
                                                                          Zia M. Faruqui
                                                                          2022.03.04 20:59:16
                                                                          -05'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
